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       MEMORANDUM OF LAW IN SUPPORT OF
   PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION


                         EXHIBIT 4
                         REDACTED
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

    HENRY DAVIS, et al.,                   )
        Plaintiffs,                        )
                                           )
                                           )
       vs.                                 )   Case No. 3:16-cv-600-MAB
                                           )
    ROB JEFFREYS,                          )   Judge Mark A. Beatty
         Defendant.                        )


                           EXPERT REPORT OF ELDON VAIL




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           I.      Assignment

           1.      I have been retained by Plaintiffs’ counsel to evaluate the Illinois

    Department of Corrections’ (“IDOC”) use of Disciplinary Segregation (“DS”),

    Administrative Detention (“AD”), and Investigative Status (“IS”) (collectively

    “restrictive housing”) and to evaluate IDOC’s policies and practices across the prison

    system that govern restrictive housing. Further, I have been asked to opine on whether

    the deficiencies causing loss of freedom and privileges relative to other incarcerated

    prisoners as well as the unnecessary pain and suffering detailed by Professor Craig Haney

    in his report are caused by IDOC’s current policies and practices. I also have been asked

    to opine on whether the desired penological objectives could be achieved after

    implementation of any feasible reforms that would rectify the identified deficiencies and

    whether those reforms could be implemented by IDOC.

           2.      I am compensated at a rate of $175 per hour in this matter, and my

    compensation is independent of the ultimate opinions I render.

           3.      I reserve the right to amend my opinions based on additional information

    that may come to light while retained by plaintiffs’ counsel to opine on these matters.

           II.     Materials Relied Upon

           4.      I reviewed a large variety of documents to reach the opinions described in

    this report. Those documents include IDOC policies, various depositions of named

    plaintiffs and defendants, and recommendations of the Vera Institute of Justice.

    Additionally, I rely upon the materials listed below, including my inspections of six

    IDOC prison facilities. A complete list of all materials considered is listed in Appendix 1.

    Additionally, I conducted several prison visits:




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                  o I inspected three IDOC prisons between July 24 - 27, 2018. I spent two
                    days at Pontiac Correctional Center, two days at Dixon Correctional
                    Center, and one day at Stateville Correctional Center. I interviewed
                    twenty-nine prisoners, some of whom were suggested by plaintiffs’
                    counsel and the remainder randomly selected by me. All interviews were
                    conducted in a private setting. In addition to these formal interviews, I had
                    brief conversations with a few dozen prisoners at cell front or in the yard
                    during my tours of these three prisons. All prisoners interviewed were
                    living or had lived in restrictive housing.

                  o I inspected another three IDOC prisons between September 24 – 28, 2018.
                    I spent two days at Menard Correctional Center, one day at Lawrence
                    Correctional Center, and two days at Logan Correctional Center. During
                    these inspections, I also had the opportunity for private interviews with
                    twenty-five prisoners, some of who were suggested by plaintiffs’ counsel,
                    and the remainder were randomly selected by me. In addition, I had brief
                    conversations with a few dozen prisoners at cell front or in the yard during
                    my tours of these three prisons. All prisoners interviewed were living or
                    had lived in restrictive housing.

    Upon completion of the inspections, I requested from counsel and later received from

    counsel more detailed files on the prisoners I selected for private interviews. I reviewed

    these files as well as the files of randomly selected prisoners who are or were housed in

    restrictive housing at the remaining IDOC facilities as noted above.

           III.      Summary of Qualifications

           5.        A complete copy of my resume, detailing my work experience as a

    practitioner and expert witness/correctional consultant is attached as Appendix 2.

           6.        I am a former correctional administrator with 35 years of experience

    working in and administering adult correctional institutions. Before becoming a

    corrections administrator, I held various front line and supervisory level positions in a

    number of adult prisons and juvenile facilities in the State of Washington. I have served

    as the Superintendent (Warden) of three adult institutions, including facilities that housed




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    maximum, medium, and minimum-security inmates. Two of those facilities housed men

    and one housed women.

           7.      I served for seven years as the Deputy Secretary for the Washington State

    Department of Corrections (“WDOC”), responsible for the operation of prisons and

    community corrections. I briefly retired, but was asked by former Governor of

    Washington, Chris Gregoire, to come out of retirement to serve as the Secretary of the

    WDOC in the fall of 2007. I served as the Secretary for four years, until I again retired in

    2011. In sum, I served for a total of eleven years in the top one or two positions over the

    agency.

           8.      As a Superintendent, Assistant Director of Prisons, Assistant Deputy

    Secretary, Deputy Secretary, and Secretary of the WDOC, I was responsible for the safe

    and secure operations of one, some, and then all adult prisons in the State of Washington,

    a jurisdiction that saw and continues to see a significant downward trend in prison

    violence. When I became Secretary, the rate of violent infractions throughout the prison

    system was 1.23 events per 100 prisoners. When I left it was 0.66 per 100 prisoners, a

    46% reduction in 4 years.1 I am experienced in sound correctional practice.

           9.      My experience as a prison and corrections administrator included

    responsibility for, and a focus on, the mentally ill population and their custody, housing,

    and treatment. As a Superintendent, as an Assistant Director of Prisons, as Deputy

    Secretary and, later, as Secretary, I focused on providing proper treatment for the

    mentally ill in prison on a system-wide basis across the State of Washington.




    1
     Washington Department of Corrections, Violent Infraction Rates – All Prisons, July 7,
    2015.

                                                                                                  4
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            10.     My opinions are based upon my substantial experience working in and

    running correctional institutions and presiding over a statewide prison system for more

    than a decade, a system that successfully addressed the challenge created by the rapid

    influx of mentally ill individuals into the prison environment. In my thirty-five years of

    work in corrections as a practitioner, I spent considerable time working to provide for the

    proper custody and care of all prisoners, especially those in restrictive housing and the

    mentally ill.

            11.     Since my retirement I have served as an expert witness and correctional

    consultant for cases and disputes over 50 times in multiple jurisdictions—state, local and

    federal. As an expert witness and correctional consultant, I have been retained to evaluate

    and offer my opinions on a variety of issues in the correctional environment.

            12.     A complete listing of the matters in which I have offered expert testimony

    is contained in Appendix 2. Specifically, over the last few years, I have testified in the

    following cases:

                    Coleman, et al. v. Brown, et al.
                    No. 2:90-cv-0520 LKK JMP P
                    United State District Court, Eastern District of California,
                    Testified, October 1, 2, 17 and 18, 2013

                    Graves v. Arpaio
                    No. CV-77-00479-PHX-NVW,
                    United States District Court, District of Arizona
                    Testified, March 5, 2014

                    Corbett v. Branker
                    No. 5:13-CT-3201-BO
                    United States District Court, Eastern District of North
                    Carolina, Western Division
                    Special Master appointment November 18, 2013
                    Testified, March 21, 2014

                    C.B., et al. v. Walnut Grove Correctional Authority, et al.



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                No. 3:10-cv-663 DPS-FKB,
                United States District Court for the Southern District of
                Mississippi, Jackson Division
                Testified, April 1, 2 and 27, 2015

                Fontano v. Godinez
                No. 3:12-cv-3042
                United States District Court, Central District of Illinois,
                Springfield Division
                Testified June 29, 2016

                Doe v. Kelly
                No. 4:15-cv-00250-DCB
                United States District Court, District of Arizona
                Testified, November 14, 2016

                Braggs, et al. v. Dunn, et al.
                No. 2:14-cv-00601-WKW-TFM
                United States District Court, Middle District of Alabama
                Testified, December 22, 2016, January 4, 2017,
                February 21, 2017 and December 5, 2017

                Wright v. Annucci, et al.
                No. 13-CV-0564 (MAD)(ATB)
                United States District Court, Northern District of New York
                Testified, February 13, 2017

                Padilla v. Beard, et al.
                No. 2:14-cv-01118-KJM-CKD
                United States District Court, Eastern District of California,
                Sacramento Division
                Testified April 19, 2017

                Cole v. Livingston
                No. 4:14-cv-1698
                United States District Court, Southern District of Texas,
                Houston Division
                Testified, June 20, 2017

                Holbron v. Espinda
                Civil No. 16-1-0692-04 RAN
                Circuit Court of the First Circuit, State of Hawai’i
                Testified, December 20, 2017

                Dockery v. Hall
                No. 3:13-cv-326 TSL JMR



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                   United States District Court for the Southern District of
                   Mississippi, Jackson Division
                   Testified March 5–7, 2018

           13.     Several of these cases involved issues similar to the current Davis

    litigation, specifically the overuse of restrictive housing and the treatment of mentally ill

    or disabled prisoners. Some of these cases are Coleman v. Brown, Padilla v. Beard and

    Asker v. Governor of the State of California (California); Graves v. Arpaio (Maricopa

    County in Arizona); C.B. v. Walnut Grove and Dockery v. Hall (Mississippi); Parsons v.

    Ryan (Arizona); Peoples v. Fischer and Wright v. Annucci (New York); Commonwealth

    of Virginia and Latson v. Clarke (Virginia); Community Legal Aid Society Inc. v. Robert

    M. Coupe (Delaware); P.D. v. Middlesex County and C-Pod Inmates of Middlesex County

    Adult Correction Center v. Middlesex County (New Jersey); and Johnson v. Mason

    County and Dahl v. Mason County (Washington). Related consulting work has been

    performed in Georgia for the United States Department of Justice and for Sacramento

    County in California on behalf of the county sheriff.

           IV.     Summary of Opinions

           14.     IDOC’s policies and practices concerning restrictive housing across the

    prison system lead to the deprivation of freedom and privileges of prisoners in restrictive

    housing relative to other incarcerated prisoners held in the general population, as well as

    the unnecessary pain and suffering detailed by Professor Craig Haney in his report. I

    conclude that these problems could be rectified by implementation of common policies

    and practices throughout the IDOC prison system in a manner that is conducive to

    institutional safety and security in terms of who is placed in restrictive housing, the

    procedures used to decide who is placed in restrictive housing, and how long they are




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    confined in restrictive housing. Further, I conclude that the “sanction grid”2 for the

    disciplinary process punishes prisoners with DS time for offenses that do not create a

    serious threat to institutional security and do not otherwise warrant deprivation of such

    freedoms and privileges.

           15.     IDOC’s system of disciplinary segregation, the primary source of

    prisoners’ being placed in restrictive housing, is rare in other correctional jurisdictions

    and is far outside of accepted correctional standards. Their use of AD3 is their secondary

    source of prisoners held in restrictive housing.

           16.     The disciplinary hearing process in the IDOC is flawed and does not

    provide prisoners with the necessary opportunities to contest the facts of the incidents or

    other bases for placing the prisoners in restrictive housing. I conclude that these

    deficiencies could be cured by uniform policies and practices established by IDOC.

           17.     The process for placing prisoners in AD is not adequate to explain to

    prisoners why they are being placed in restrictive housing so that they can present a

    proper defense. There appear to be no standards at all for when a prisoner will be released

    from AD, providing no clear pathway for prisoners to follow to regain their freedom and

    privileges. The infrequent reviews of placement in AD offer little information to the

    prisoner and do not give the prisoner clear knowledge of a pathway to earn his or her way

    out of AD.

           18.     Based on my years of experience I conclude that that prisoners, including

    prisoners with mental illness, do better when there are clear rules that are fairly applied,



    2
      Illinois Department of Corrections, DR 504: Administration of Discipline, A User’s
    Guide for Policy Implementation at 81–84 [038756–59] (2017).
    3
      This is commonly referred to Administrative Segregation in other jurisdictions.

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     and where alternatives to punishment instead of placement in restricted housing are

     utilized in a more robust manner, leads to a more safe and secure correctional

     environment. Such an approach is not present in the IDOC. Rather, placement of

     prisoners in restricted housing in the IDOC is for too long, often without sufficient bases

     justifying such placement, and with very unclear and nearly non-existent pathways to be

     placed back into general population.

            19.     Prisoners in IS and TC are generally housed in the same areas and cells as

     those held in other forms of restrictive housing, such as DS and AD, subjecting prisoners

     to the same conditions as prisoners in DS and AD. Prisoners are held in IS and TC while

     an incident is being investigated or a determination is being made as to whether to

     proceed to issue a disciplinary or investigative report.4

            20.     I conclude that the conditions of confinement for prisoners in IDOC’s

     restrictive housing unnecessarily deprive the prisoners of freedom and privileges that are

     afforded to prisoners who are not in restrictive housing in the IDOC. I also conclude that

     the conditions of IDOC’s restrictive housing units are stark and horrific and far below the

     standards of other state prison systems. Further, they are unnecessary to achieve the

     relevant penological objectives.

            V.      Conditions of Confinement

            21.     Conditions of confinement in the IDOC’s restrictive housing units that I

     inspected are generally deplorable. While each facility is different from the others, there

     is a commonality of concerns in the areas of sanitation, cell conditions, time out of cell

     for programs, and exercise and double celling.


     4
      Pfister Dep. at 21:19-22:15; Taylor Dep. at 88:9-12; 20 Ill. Admin. Code § 504.40 and §
     504.12.

                                                                                                   9
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            A.      Cell Interiors

            22.     Cell fixture maintenance, such as keeping the toilets and sinks in the cells

     functional, is a priority in correctional systems in many jurisdictions due to health and

     sanitation concerns. In Illinois I found multiple concerns expressed by the prisoners with

     long waits between reporting a problem and seeing it fixed.

            23.     At Stateville while inspecting the restrictive housing unit I witnessed two

     broken sinks, at least one cell with no cold water, and complaints from the prisoners

     about the lack of a ladder to the top bunk of a two-man cell. Prisoners reported this as a

     problem, and especially so for some prisoners who are older and/or have mobility

     challenges. Prisoners demonstrated for me that the main method for accessing the top

     bunks is to climb on the toilet and sink to access the top bunk, or alternatively to step on

     the bottom bunk and climb up to the top bunk—an obviously unsafe design.




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            24.     At Pontiac, as we inspected the tiers, multiple prisoners wanted to show us

     the water that came out of the sinks in their cells and a few did so. There were small

     black specs in the water. Prisoners had great concern that the water was contaminated in


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     some way. I also saw cells where the legs of the bunk beds were rusted. In one cell a

     prisoner showed me a hole in the wall that he said was used by rats. Multiple prisoners

     complained about rodent and insect infestation.




                                                                                               12
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            25.     Another issue emerged at Dixon. I witnessed multiple, shredded

     mattresses, some with what appeared to be blood stains on them. While I did not request

     to see prisoners’ mattresses, as I spoke with the prisoners at their cell front, several made

     it a point to insist that I look at their mattresses so I could understand what they were

     expected to live with. Based on my experience running prisons, many of the mattresses I

     saw were far beyond their useful life and should have been removed from the unit long

     ago.

            26.     At Menard I saw one cell where the water would not shut off, some cells

     with no hot water, and another cell where the prisoner reported his cell light had just been

     repaired after having no cell lights for about three weeks. Other prisoners showed me




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     dead cockroaches they had recently killed. One showed me his recent bug bites. Others

     showed me their stained and soiled mattresses.

             27.      At Lawrence, like other facilities, there were multiple complaints about

     insects. In one cell I saw that the water in the sink would not turn off. One prisoner told

     me his toilet was broken for twenty-five days before it was repaired.

             28.      During my interviews prisoners reported to me that extermination efforts

     they had witnessed were limited to the corridors and not the cells, resulting in insects

     being driven into the cells, making the problem worse.

             29.      The prisoners’ interrogatory responses clearly articulate their cell

     conditions and are consistent with what I observed on my inspections of the six prisons

     facilities I visited.

                             •   Mr. Filmore’s cell is tiny and dirty, with his bed,
                                 toilet, and sink all within inches of each other. A
                                 metal box covers the only window to his cell, so there
                                 is little access to natural light, and he cannot open the
                                 window because of a large amount of bird feces.5

                             •   Mr. Gardner is confined to a cell infested with bugs
                                 and with a toilet that he cannot flush immediately
                                 after using. There is a constant stream of bugs in his
                                 cell that he constantly has to keep out of his food and
                                 keep from biting him.6

                             •   Mr. Jones was confined to a dark cell nearly 24 hours
                                 a day with the window to his cell covered by a steel
                                 shield. He was only allowed to eat meals in his cell.
                                 And the toilet in his small cell was on a 15-minute
                                 timer.7

     5
       2016.12.12 Aaron Fillmore’s Responses to Defendant’s First Set of Interrogatories,
     page 5.
     6
       2016.12.12 Deshawn Gardner’s Responses to Defendant’s First Set of Interrogatories,
     page 5.
     7
       2016.12.12 Jerome Jones’s Responses to Defendant’s First Set of Interrogatories, page
     5.

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                        •   Mr. Dansberry’s cell in restrictive housing was
                            dark. He was provided with a small cup of
                            watered-down disinfectant to clean his cell. His
                            cell often had bugs, cockroaches, and mice. He was
                            forced to plug the bottom of his cell door to keep
                            the mice out.8

            30.     These physical plant problems are extreme in the IDOC. A more focused

     effort is required to improve the conditions to an adequate and humane level for the

     prisoners in restrictive housing.

            B.      Showers

            31.     The physical plants containing the restrictive housing units at Menard,

     Pontiac and Stateville are old and poorly maintained. For example, during my inspection

     of each of these facilities, I found the showers in restrictive housing to be filthy, and it

     appeared that they were rarely cleaned.

            32.     At Menard, some showers in restrictive housing had adequate privacy for

     the person taking a shower and some did not. One of the showers leaked and another

     would not drain properly, resulting in standing water.




     8
      2016.12.12 Percell Dansberry’s Responses to Defendant’s First Set of Interrogatories,
     page 5.

                                                                                                    15
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           33.   At Stateville there was visible rust and caked on dirt in the showers.




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            34.     Shower conditions at Pontiac were the same—visible rust and caked on

     dirt. I met one prisoner who refused to use the showers in restrictive housing, electing




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     instead to wash himself only in his sink due to his concerns about the filth and unsanitary

     conditions in the unit’s showers.




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            35.     The showers at Dixon were adequate, but the showers at Logan and

     Lawrence were not as clean as they should have been indicating the same lack of focus

     on providing adequate facilities for the prisoners in those institutions.

            36.     The showers at Dixon were what I would expect in a correctional facility.

     You could see that they were frequently cleaned and all had adequate privacy protection,

     demonstrating that the IDOC has the capacity to do so when this issue is given

     appropriate attention.

            37.     While it is a greater challenge to maintain shower cleanliness and repair in

     older facilities, in my own experience overseeing two prisons over 100 years old in the

     State of Washington, we made it a priority by simply making sure the selected prisoners

     regularly and thoroughly clean the showers. If I had walked into any of the prisons


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     referenced above as the Secretary in my own state and found similar shower conditions, I

     would have called the Superintendent and demanded that corrective action occur

     immediately. It is a matter of health and safety for the prisoners and the staff. Further, it

     is a reflection of human dignity towards the prisoner population. No one should be

     expected to shower in such conditions. This is one of the easiest things the IDOC could

     fix with minimal cost, a little elbow grease, and focused attention by the maintenance

     staff.

              38.   When basics like sanitation and maintenance are allowed to deteriorate as

     badly as they have at Menard, Stateville, and Pontiac, it sends a very negative message to

     prisoners that the administration does not care about them. Giving prisoners a sense that

     the authorities care about them as human beings is an important management tool. It

     improves the prisoners’ perception of the state’s exercise of their authority when they

     respond and solve legitimate problems. This is a critical ingredient in the management of

     a safe and secure correctional facility.

              C.    Cell Size and Double-Celling

              39.   The size of the cells at Menard was startlingly small, and many were

     double bunked. I asked one prisoner to place his hand on the cell wall and then reach

     across to place his hand on the other wall. He did so and could touch both sides of his cell

     with a hand on one cell wall and his bent elbow touching the other. Another prisoner

     explained to me that there is not enough room in these cells for both prisoners to be on

     the floor of the cell at the same time. One must work it out with their cell partner and ask

     permission to get off of their bunk. These cells should not be double bunked. In fact, it is




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     my understanding these cells fall below the Illinois statutory requirement that cells be at

     least fifty square feet.9




     9
         Baldwin, John 2018.10.17 deposition, Exhibit 13 (730 ILCS 5/3-7-3).

                                                                                               24
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            40.     The American Correctional Association (ACA) standards for restricted

     housing require even more space.

                   All cells/rooms in Restrictive Housing provide a minimum
                   of 80 square feet, and shall provide 35 square feet of
                   unencumbered space10 for the first occupant and 25 square


     10
        “Unencumbered space” is usable space that is not encumbered by furnishing or
     fixtures. At least one dimension of the unencumbered space is not less than seven feet. In
     determining unencumbered space, all fixtures must be in operational position and must
     provide the following minimum areas per person; bed, plumbing fixtures, desk and

                                                                                             25
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                   feet of unencumbered space for each additional occupant.11

            41.     In his deposition, Director Baldwin was informed of the state statue and

     that some cells at Menard, Stateville and Pontiac did not meet this requirement of fifty

     square feet. He reported he was recently made aware of the problem at Menard due to a

     recent court case. When asked if he would keep this requirement in mind for any future

     remodeling he said that he would but did not indicate any plans to address the problem at

     each of these facilities.12 At a minimum, it is my strong opinion that these cells should

     not be double celled.

            42.     Former Chief of Operations Mike Atchison comes close to sharing this

     opinion when he says in his deposition,

                    Well, yeah, in a perfect world most -- I mean the oldest
                    prisons were built -- you know. You know better than
                    most -- they weren’t necessarily built for two cells or two
                    beds in a cell, so, you know, in a perfect situation, we
                    wouldn’t have to have that many that were double celled.13

            43.     Double celling prisoners in segregation is a bad practice. Sharing a small

     space by two people is a security risk for both prisoners and the staff. The State of

     Nebraska continues this risky practice as well and it has resulted in a tragic murder of a

     prisoner and staff assaults.14

            44.     My work on the overuse of disciplinary segregation in the New York

     Department of Corrections and Community Supervision began in 2013. In 2012, Dr.


     locker. ACA Standard 4-4131
     11
        American Correctional Association, Restrictive Housing Performance Based
     Standards, ACA Standard 4-RH-0006 (Ref: 4-4141) (Aug. 2016).
     12
        Baldwin, John 2018.10.17 deposition, page 164, line 11 – page 15, line 22
     13
        Atchison, Mike 10-22-2018 deposition, page 46, lines 7 – 13.
     14
        State of Nebraska Office of Inspector General of Corrections, Summary of the Report
     on the Death of Terry Berry (Aug. 28, 2017),
     https://nebraskalegislature.gov/pdf/reports/public_counsel/2017berry.pdf.

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     Haney and Dr. Grassian, a psychiatrist who has done extensive work on the impact of

     restrictive housing, had their work highlighted in Boxed In: The True Cost of Extreme

     Isolation in New York’s Prisons:

                    In Madrid v. Gomez, a case examining conditions of
                    extreme isolation at California’s Pelican Bay State prison
                    where “[r]oughly two-thirds of the inmates [were] double
                    celled,” the court cited testimony from Professor Haney
                    and Dr. Stuart Grassian in observing: [Double-celling] does
                    not compensate for the otherwise severe level of social
                    isolation . . . . The combination of being in extremely close
                    proximity with one other person, while other avenues for
                    normal social interaction are virtually precluded, often
                    makes any long-term normal relationship with the cellmate
                    impossible. Instead, two persons housed together in this
                    type of forced, constant intimacy have an ‘enormously high
                    risk of becoming paranoid, hostile, and potentially violent
                    towards each other.’ The existence of a cellmate is thus
                    unlikely to provide an opportunity for sustained positive or
                    normal social contact.15

            45.     In my own state we ended this practice in the early 1980’s, concerned

     about the safety for all involved. Illinois should do the same.

            D.      Cell Climate

            46.     Cell temperature was a concern at every facility inspected. Prisoners

     described how hot it gets in the summer and how cold it gets in the winter. These

     complaints, especially regarding conditions during the summer months, were consistent

     with my own actual experience of being in IDOC restrictive housing units in July and

     September. While some units were hotter than others, some definitely met the definition

     of unbearable and were hotter inside the units than were the outside temperatures. It was

     a relief to exit the cellblock and get some fresh air—something that prisoners in



     15
        Scarlet Kim et al., Boxed In: The True Cost of Extreme Isolation in New York’s Prisons
     at 60 n.115 (Oct. 2, 2012) (quoting 889 F. Supp. 1146, 1229–30 (N.D. Cal. 1995)).

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     restrictive housing cannot do. Prisoner complaints about heat and cold during my cell-

     front and private interviews were consistent—far too hot in the summer and freezing cold

     in the winter.

               47.    In observing the cells, particularly at Menard and Pontiac, it appeared that

     the closed front cells had no way for fresh air to enter the cells at all. Each had no

     windows in the cell, and the closed front meant no fresh air could enter the cell from the

     corridor. During my interviews many prisoners confirmed this observation.

               48.    Even in those cells where there were windows, they were so poorly

     designed and/or maintained that they did little good. As noted above, Mr. Fillmore

     testified that the window in his cell at Lawrence could not be opened, as the box over the

     window was filed with bird feces.

               49.    One prisoner who had a window in Menard’s AD unit described his

     experience:

                      Poor ventilation in the winter. It was so cold that the
                      administration had to pass out plastic and tape to place –
                      for us to place over the windows.16

               50.    Another prisoner, who had served time in restrictive housing at Pontiac

     and Lawrence said,

                      They allow us our fan and like the weather when it gets in
                      the 80s and 90s, it is not doing – they got these blowers
                      that are supposed to be circulating the air for us, but they
                      aren’t working. They’re only circulating hot air, sucking in
                      and exhausting hot air that makes the room even more
                      hotter. So you’re in your cell like a sweat hog.17




     16
          Dansberry, Percell 06-27-2018 deposition, page 18, lines 9 –13.
     17
          Davis, Henry 06-26-2018 deposition, page 44, lines 6 – 13.

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               51.     Even more disturbing, the same prisoner described how IDOC staff use

     control of temperature as punishment. In his deposition he said,

                       Q. And where have you heard of freezing out?

                       A. Excuse me?

                       Q. Like where have you heard it being referred to as
                       freezing out?

                       A. That's what -- that’s what the inmates and all of us --
                       that’s the name we give it, freezing us out because if the
                       guys banging and kicking on the doors and stuff like that,
                       they’ll turn the blowers on and they will make us cold so
                       that’s just a term we use, freezing out.

                       Q. Have any DOC employees told you that they were
                       doing that on purpose to stop inmates from doing stuff?

                       A. Well, what I have heard was if you don’t stop, I'm
                       going to turn the blowers on.

                       Q. From correctional staff threatening that?

                       A. Yes. So with that being said, that’s how we come up
                       with the term that’s what they be doing. They will turn the
                       blowers on and freeze us out, and that’s how the term and
                       all that came about.

                       Q. And in the time you heard that threat did they in fact
                       turn the blowers on you?

                       A. Plenty of times.

                       Q. How long will it last?

                       A. Hours.

                       Q. Multiple hours?

                       A. Multiple hours.18




     18
          Ibid, page 47, line 8 – page 48, line 13.

                                                                                              29
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     Such conduct on the part of IDOC staff is abusive and contrary to good institution

     security. In my experience, treating prisoners with such disrespect is likely to increase

     anger and frustration and lead to more acting out behavior by those suffering such abuse.

             52.    Another prisoner, speaking of his experience at Menard in his deposition

     said,

                    Now, conditions determined on -- how it felt outside, that’s
                    how we feel in the cell. So if it was hot outside, it would be
                    extremely hot in the cell. It was extremely cold outside, it
                    would be extremely cold in the cell. In the wintertime
                    conditions, which I actually had to file a lawsuit for this for
                    confinement in Menard. In the wintertime, the heating
                    ducts were completely broken. You know, they didn’t have
                    any heat coming into the cells or on the wing period. So the
                    cell, the window, which you can close it, open and close it;
                    however, with the fixtures being so old, air would seep
                    through the sides completely, so they would have to give us
                    plastic and tape it up to the window to keep the air from, to
                    keep the air from pushing through and coming in, but in the
                    meantime, you would have ice on the windows. You know,
                    you can actually breathe -- when you breathing out of your
                    mouth, like the smoke, the mist actually came out of your
                    mouth. It would be extremely cold.19

             53.    Another prisoner, who has been held in restrictive housing at Stateville

     and Menard said in his interrogatory,

                    His cell was unbearably cold in the window, with missing
                    or broken window panes letting cold air directly into his
                    cell. He was not permitted to use his blanket to cover the
                    window.20

             54.    There is clearly a lack of air-conditioning in IDOC restrictive housing

     units. According to former Director Baldwin, speaking of his restrictive housing cells, he




     19
                      01-26-18 deposition, page 28, lines 5 – 24.
     20
       2016.12.12 Douglas Coleman’s Responses to Defendant’s First Set of Interrogatories,
     page 6

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     said, “I don’t believe there are many that are air-conditioned”21. In my training and

     experience the lack of air conditioning leads to increased stress in the prisoner population.

     And, for prisoners on psychotropic medications and certain health conditions, extreme

     temperatures are medically contraindicated. As a correctional administrator involved in

     the design and remodel of several prison facilities, we made certain that indoor

     temperatures were controlled so as not to cause unnecessary harm to individual prisoners

     at risk of heat related illness.

               55.    Oddly, and even though it was only late September when I inspected

     Logan, I noticed as I began to speak with prisoners at their cell fronts, that the prisoners

     were wrapped in blankets. I asked why and they told me it was freezing. Later in the day

     and the following morning I was provided a re-purposed cell so I can could conduct

     private interviews with the prisoners. Sitting on metal bench it wasn’t long until I was

     freezing too. I attempted to close the window in the cell but the window latch was broken

     and cold air continued to pour in. The same was true when I came back to the same re-

     purposed cell the next morning for more interviews. It was still freezing cold. At least on

     the days I visited Logan their restrictive housing unit wasn’t providing adequate

     temperature control.

               56.    Although the State of Washington has a relatively temperate climate, all of

     our prisons (except for minimum-security units where prisoners have access to go

     outside) are air-conditioned. I was personally involved in the construction and design of

     the Coyote Ridge Corrections Center and the expansions of the Walla Walla State

     Penitentiary and the Washington Corrections Center for Women, including decisions to



     21
          Baldwin, John 2018.10.17 deposition, page 154, lines 4 – 5.

                                                                                                31
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     install air-conditioning. Though we were conscious of the lack of political appetite for

     providing air conditioning to prisoners, we understood that even if the public found it

     distasteful that it was necessary to make the prisons safe. As a reality, prison

     administrators are responsible for the safety of the inmates housed in their care. Unlike

     members of the public, prisoners cannot remove themselves from a hot environment

     during the summer (such as going to an air-conditioned movie theater or public library on

     a hot day). Faced with this deliberate decision, we knew it was necessary to install air-

     conditioning to make the facilities that experienced hot summers safe. IDOC appears to

     not share that concern for safety.

            E.              Out of Cell Time and Yard Conditions

            57.     One of the primary reasons out of cell time is so important is due to the

     stress of social isolation and physical limitations that come with living in restrictive

     housing. Time out of cell for recreation and exercise is one of the primary ways to relieve

     that stress. IDOC, relatively recently, increased the time allowed out of cell for exercise.

     However, what they came up with fails to meet national and international standards.

            58.     The ACA has extensive standards on recreation/exercise for prisoners in

     restrictive housing. Those standards require,

                    Written policy, procedure, and practice provide that
                    inmates in Restrictive Housing receive a minimum of one
                    hour of exercise outside their cells, five days per week,
                    unless security or safety considerations dictate otherwise.22




     22
       American Correctional Association, Restrictive Housing Expected Practices, ACA
     Standard, 4-RH-0025 (Ref: 4-4270) (Jan. 2018). “Restrictive Housing” is a synonym for
     segregation.

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            59.     The United Nations has standards for the treatment of prisoners, officially

     called the Mandela Rules. Mandela Rule 23 recognizes the need for daily exercise for

     prisoners:

                    Every prisoner who is not employed in outdoor work shall
                    have at least one hour of suitable exercise in the open air
                    daily if the weather permits.23

            60.     The IDOC does not have such a requirement. Instead they say,

                    Offenders in segregation status shall be afforded the
                    opportunity to recreate outside their cells a minimum of
                    eight hours per week distributed in increments over no less
                    than two days per week.24

     The policy then allows the local prison authority to determine how those hours are

     distributed, and how they are distributed is the problem. In my opinion, the reason

     driving both the ACA and the Mandela standards is the need to relieve the pressure of

     being confined to a cell by allowing prisoners the opportunity for exercise every day or,

     as ACA requires, at least five days a week. With one exception, that is not how

     opportunities for recreation are distributed to the prisoners in IDOC restrictive housing

     units in the prisons I inspected. What is consistent about the IDOC is that its practices

     vary widely from institution to institution.

            61.     There are both congregate and individual recreation cages at Pontiac The

     prisoners I interviewed indicated that they received recreation two or three days a week

     for two hours or two and a half hours at a time, depending on who is on duty. Not a single

     prisoner reported receiving the full eight hours established as a minimum in IDOC policy.

     Typical of several other IDOC facilities, there is no on the ground supervision of the yard


     23
        United Nations Standard Minimum Rules for the Treatment of Prisoners (the Nelson
     Mandela Rules), Rule 23.
     24
        20 Ill. Adm. Code 504.670(a).

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     by correctional officers. Supervision is provided from a tower. The result is that some

     prisoners refuse recreation describing it to me as not safe. There are also no toilets, even

     though prisoners are given access to these areas for up to two and a half hours. Some

     inmates will “go” anyway and some then will throw their urine and feces. Prisoners

     reported that sometimes there are water jugs available to them but that this practice is not

     consistent.




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            62.     At Dixon, recreation is offered two hours a day, five days a week,

     exceeding the ACA standard and IDOC’s own policy. However, the recreation area is

     unsupervised (except from a tower), and up to eight prisoners are allowed out to the area

     at a time. There is no toilet in the yard. Of the prisoners I interviewed, the majority told

     me they refused or rarely go to yard because there are “too many fights” and it is not safe.

     One prisoner explained to me that in order to get the officer’s attention if you are feeling

     threatened or simply need to go to the bathroom, you have to “climb the gate.” Two of

     the prisoners I interviewed told me that they had actually been in fights in the yard. The

     absence of officers in the yard serves as a disincentive for prisoners to access the

     recreation areas. In my experience as a practitioner and as an expert and corrections




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     consultant, I have found that prisoners in restrictive housing will access recreation

     facilities if they are safe and if there is something to do once they are placed in that area.

            63.     At Stateville, prisoners consistently shared that they get access to

     recreation for a total of three times a week for a total of five hours. During our inspection

     we witnessed prisoners being moved to a congregate yard. There are also no toilets in

     these yard areas but inmates will sometimes “go” anyway. Prisoners reported lots of

     fights in the yard. One told me he did not go to recreation out of fear that he would be

     double celled while he was gone.




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            64.     There are also large congregate yards at Menard as well as single-man

     cages. It surprised me how few prisoners were accessing the yard during my inspection

     of that facility. The officer leading the tour acknowledged that most prisoners did not in

     fact take advantage of the opportunity to go to yard. Menard prisoners reported varying

     times of yard access per week. Some said they get yard access two days a week, five

     hours one time and two and a half hours the next for a total of seven and a half hours a

     week. Another said he got yard two hours a day, twice a week for a total of four hours a

     week. Yet another said he got yard twice a week for four hours at a time for a total of

     eight hours a week. The yards at Menard have portable toilets and some have drinking

     fountains, telephones and tables. These yards are also set below a tower but there is a

     shack for a correctional officer on the ground. An officer occupied the shack during our


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     inspection but prisoners told me this is not always the case. One prisoner told me that he

     does not go to the yard because of the lack of predictability that an officer will be present

     in the shack supervising the recreation area. Without that officer, he did not feel safe.

     Staff informed us that up to twenty-five prisoners at a time were provided yard access.

     One person told me that he arrived August 1 but had not yet been offered yard as of

     September 24. Another told me officers sometimes don’t offer recreation but log that the

     prisoners refused. Yet another told me he had not been offered recreation for two months

     but did not know why.




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            65.     At Lawrence there are also no officers on the ground in the recreation

     areas. Supervision is provided from a tower, which once again causes some prisoners to

     frequently not access the yard feeling it is not safe. Lawrence allows three prisoners in

     the yard at a time. Most of the prisoners at Lawrence said they received yard access three

     times a week for two hours for a total of six hours a week. Others said it was three hours,

     only twice a week, also for a total of six hours. Again, there is no toilet in the yard area,

     which prisoners can find challenging if they need to relieve themselves.


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            66.     At Logan there are two outside yard areas where the ground is covered by

     grass. There is a chair provided but no recreation equipment. There is no toilet in the

     outside yard area nor is there a correctional officer supervising this area. One prisoner

     told me she refuses yard time because she doesn’t feel safe outside of officer supervision.

     Recreation time is either in the yard or in the dayroom chained to a table where the

     prisoner can watch TV. Prisoners do not get to choose if their recreation time will be

     inside or outside. Recreation was reported to be three times a week for a total of eight

     hours although some reported receiving only six hours.




            67.     In sum, the practices of recreation access for IDOC prisoners in restrictive

     housing tend to discourage their use. Several prisoners told me the officers do not like

     them to access recreation because it drives their workload as they must escort the

     prisoners to the recreation areas in restraints. During interviews, I was told that the

     prisoners understood there was competition among the guards to see who could generate

     the most “refusals” in a week. I found this both very disturbing, and emblematic of the



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     entire IDOC attitude—time out of cell is viewed as a bother, rather than as an important

     part of maintaining people’s wellbeing, and thus furthering the goals of security. Support

     for these statements is inherent in the lack of toilets, the lack of on the ground supervision

     of the recreation areas, and the high number of prisoners who told me they refuse

     recreation because they do not feel that it is safe. As a result, some prisoners rarely leave

     their cells. For those who do access recreation, with the exception of Dixon, prisoners are

     confined to their cells four or five days a week without access to exercise in the

     recreation areas. In my opinion and in my experience, this is counterproductive to the

     reason the standards require access to recreation—to reduce the stress of living in

     restrictive housing. Offering recreation on only two or three days a week defeats the

     objective of getting segregated prisoners out of their cells as much as possible. There is

     no security reason to do otherwise. And restrictive housing yard activities definitely need

     to be supervised by an officer on the ground and not by an officer in a tower. If that were

     to happen, more prisoners would feel safe going to the yard resulting in less stress and

     potential mental health deterioration for those prisoners.

            F.      Cell Checks

            68.     The ACA also has standards for frequent checks on prisoners in restrictive

     housing in their cells to ensure their safety and to make certain that the facility is secure.

     The relevant standard states,

                    Written policy, procedure, and practice require that all
                    Restrictive Housing inmates are personally observed by a
                    correctional officer twice per hour, but no more than 40
                    minutes apart, on an irregular schedule.25



     25
       American Correctional Association, Restrictive Housing Expected Practices, ACA
     Standard 4-RH-0011 (Ref: 4-4257) (Jan. 2018).

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     If such a standard exists in the IDOC, Defendants did not disclose it. Nor were any unit

     or individual logs documenting activities of prisoners housed in IDOC restrictive housing

     units disclosed, which would show that such checks are or are not being conducted.

     However, whenever I asked prisoners about the frequency of tier checks during my

     interviews, the response was consistent. Common comments were that the officers

     “rarely come back here”, that “tier checks are hours apart” and that tier checks are

     infrequent. The risk of harm to prisoners of infrequent checks of prisoners in restrictive

     housing have been studied and established.

            69.     Multiple studies have illustrated than the risk of suicide is much greater

     for inmates in Administrative Segregation compared to those in general population. One

     of them, a three-year study in the New York City jail, clearly illustrates the risk of suicide

     and self-harm attempts for inmates in restrictive housing:

                    In 1303 (0.05%) of these incarcerations, 2182 acts of self-
                    harm were committed, (103 potentially fatal and 7 fatal).
                    Although only 7.3% of admissions included any solitary
                    confinement, 53.3% of acts of self-harm and 45.0% of acts
                    of potentially fatal self-harm occurred within this group.
                    After we controlled for gender, age, race/ethnicity, serious
                    mental illness, and length of stay, we found self-harm to
                    be associated significantly with being in solitary
                    confinement at least once, serious mental illness, being
                    aged 18 years or younger, and being Latino or White,
                    regardless of gender.26

     Should this case go forward, the primary means of protecting prisoners from risk of harm

     by security checks consistent with the ACA standard must be closely evaluated.



     26
       Solitary Confinement and Risk of Self-Harm Among Jail Inmates, March 2014, Vol.
     104, No. 3 American Journal of Public Health, Research and Practice, Fatos Kaba, MA,
     Andrea Lewis, PhD, Sarah Glowa-Kollisch, MPH, James Hadler, MD, MPH, David Lee,
     MPH, Howard Alper, PhD, Daniel Selling, PsyD, Ross MacDonald, MD, Angela Solimo,
     MS, Amanda Parsons, MD, MBA, and Homer Venters, MD, MS, page 1.

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             70.     The combination of all these conditions—lack of adequate heat and

     ventilation; lack of regular and meaningful opportunities to exercise; the size of some

     cells and lack of visibility into and out of cells; poor sanitation; lack of opportunities for

     programs; and failure to regularly check on prisoners in their cells only serve to increase

     the risk of harm to prisoners in restrictive housing in the IDOC.

             71.     This general perception is supported by Dr. Pablo Stewart, the court

     appointed monitor in the Rasho v. Baldwin case. Dr. Stewart said in his June 2018 report

     to the court,

                     The segregation units are countertherapeutic for the
                     mentally ill offenders housed there. These units tend to be
                     filthy, loud, chaotic and worsen the psychiatric and
                     medical conditions of those offenders who are housed
                     there. The mentally ill offenders should be removed from
                     segregated housing.27

     I concur with Dr. Stewart but would extend my opinion to say a combination of physical

     plant deficiencies and operational practices make them unsuitable for all prisoners in

     restrictive housing, not just the mentally ill.

             G.      Temporary Confinement and Investigative Status

             72.     IDOC houses prisoners assigned to TC and IS in the same conditions as

     prisoners in DS and AD. See 20 Ill. Admin. Code § 504.620 (governing the “[s]tandards

     for living conditions in segregation,” defined to include “[t]emporary confinement

     pending a disciplinary hearing or investigation” and “[d]isciplinary segregation resulting

     from a disciplinary hearing” in Section 504.610).




     27
       Second Annual Report of Monitor Pablo Stewart, MD, Rasho v. Baldwin, No. 1:07-cv-
     1298-MMM-JEH at Dkt. No. 2122, page 57 (C.D. Ill. June 8, 2018).

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            73.     My opinions regarding the conditions of prisoners placed in DS and AD

     are therefore the same as those prisoners who are placed in DS and AD.

            VI.     Excessive Use of Disciplinary Segregation

            74.     IDOC is an outlier in their extensive use of DS when compared to other

     jurisdictions. DS is the primary source of restrictive housing placement in Illinois. AD is

     the secondary source, the reverse of how it works in most states. Length of time in DS is

     driven by specific sanctions from a sanction grid after a finding of guilt in a disciplinary

     hearing, with sanctions lasting up to a year, and sometimes longer.28 AD placement is

     driven by an assessment of the individual prisoner that they are a risk in general

     population,29 often after a disciplinary sanction to restrictive housing has been completed.

     This is the opposite of how placement into restrictive housing works in most other states

     where AD (more commonly called Administrative Segregation) is the primary source of

     extended stays in restrictive housing, not DS.

            75.     This difference is important. Disciplinary sanctions of up to a year, or

     longer, have no relationship to effective modification of behavior because the original

     offense drives the length of time the person stays in restrictive housing instead of

     program involvement or improved behavior by the prisoner while in restrictive housing.

     Additionally, a study commissioned by IDOC found that lengthier stays in restrictive

     housing are not an effective deterrent.30

            76.     Similarly, indeterminate assignment to long-term restrictive housing, via

     AD, should be coupled with a specific plan for the individual prisoner where they are



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        038756 - 038759
     29
        010868 - 010877
     30
        008061

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     required to engage in program activities in order to learn and earn their way back into

     general population.

            77.       Most states cap the maximum time spent in DS at 30 days, some cap it at

     60 days, others at 90 (Delaware). At least one state (Nebraska) has eliminated DS

     altogether. IDOC’s maximum sanction to restrictive housing is 1 year and in some cases

     “indeterminate,” which is far outside the norm. Such a length of time in restrictive

     housing increases the risk of harm to prisoners and does little to improve institution

     security.

            78.       Disciplinary time in restrictive housing is often lengthened for prisoners

     when they receive additional restrictive housing sanctions for behavior that occurs while

     they are in restrictive housing. This practice is sometimes referred to as “back-to-back” or

     “stacking” infractions, resulting in stays beyond the original sanction, some as long as

     years. Many of these infractions are of relatively minor behaviors that do not require

     restrictive housing placement. Nothing in the rules of the IDOC prohibit this stacking of

     sanctions to DS beyond the original sanction.

            79.       This practice was confirmed in the deposition of IDOC Deputy Director

     Randy Pfister:

                      Q.      So if an offender kept getting additional
                      segregation sentences, those would essentially be stacked
                      one after the other?

                      A.     Added on, yes.

                      Q.      And that’s how offenders could get these very
                      large segregation sentences?




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                    A.        Yes.31

     Earlier in his deposition, Mr. Pfister also confirmed the excessive amount of restrictive

     housing time some prisoners accumulate, acknowledging in successive order than some

     are 5, 10,15 and 20 years long. He stopped at 30 years, telling plaintiff’s counsel, “Now

     you are pushing it”.32

            80.     In his deposition, former Chief of Operations Mike Atchison, goes as far

     as explaining the prevalence of back-to-back restrictive housing sanctions is the “norm”

     in IDOC.33

            81.     What is deeply troubling is that in his deposition, former Director Baldwin,

     responding to questions about IDOC policies on stacking restrictive housing sanctions

     and extending DS into AD, says, “I do not know”34 and “I have no idea”35. Earlier in his

     deposition Director Baldwin indicated he is concerned about prisoners who have been

     stuck in restrictive housing for years.36 It is surprising and concerning that he is not aware

     of one of the primary reasons it is happening in the department that was under his

     command.

            82.     This practice was also acknowledged in the 2018 ASCA-Liman survey

     when the IDOC reported,

                   Illinois reported that maximum “penalties per charge” had
                   been “reduced,” resulting in a reduction of “the total,
                   maximum amount of restrictive housing time for all offenses
                   by 107 months (8.9 years,” although there was “no
                   maximum duration” to a prisoner’s placement in restrictive


     31
        Pfister, Randy 10-23-2018 deposition, page 67, line 23 – page 68, line 5.
     32
        Ibid, page 64, lines 2 – 15.
     33
        Atchison, Mike, 10-12-2018, page 196, lines 12 – 14.
     34
        Baldwin, John 2018.10.17 deposition, page 78, line 18.
     35
        Ibid, page 79, line 3.
     36
        Ibid., page 67, lines 10 – 21.

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                   housing if the prisoner received “continuous sanctions for
                   separate incidents that would run consecutively.”37

     Former Director Baldwin indicated that he “likes” the work of Liman.38 It is puzzling

     why he was not aware that they pointed out one of the systemic drivers of long stays in

     restrictive housing in the IDOC.

            83.     A prisoner I interviewed from Menard is a perfect example of the practice

     that keeps individuals in restrictive housing for years due to back-to back disciplinary

     reports. He went to restrictive housing the first time at Hill Correctional Center for an

     event that occurred on               . The description of his behavior includes,

                                                                             . He was charged

     with and found guilty of
                                                                   39
                      and he was given                                  Nearly a year later he was

     still in restrictive housing, continuing to receive disciplinary reports and piling up the

     amount of time he had to serve.

            84.     To analyze his experience during the first week of                , he received

     the following disciplinary reports and restrictive housing sanctions.

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     37
        Reforming Restrictive Housing: The 2018 ASCA-Liman Nationwide Survey of Time-in-
     Cell, The Association of State Correctional Administrators, The Liman Center for Public
     Interest Law at Yale Law School, October 2018, pages 129 - 130, note 184.
     38
        Baldwin, John, 2018.10.17 deposition, page 190, line 18 – page 191, line 12.
     39
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            85.       All of these hearings were held on               . So, on this day he

     received about              of additional restrictive housing time. Each one of the hearing

     reports says,

     Each of the reports says,

            Each of the mental health reviews said,



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                         59
                              This statement did not seem to connect with the recommendations from

     mental health or the ultimate sanctions that were assigned. This individual prisoner is

     classified as Seriously Mentally Ill (SMI).

              86.    This is evidence of a broken system. This SMI person had already been in

     restrictive housing for                  , from                  until these hearings in         ,

     when he received                                  to serve for behavior over a seven-day period,

     punctuated by                                 . But his stay in restricted housing did not end

     there as he is still in DS. It is well and good that some of the lengthier sanctions assigned

     were reduced from                              , but it is largely irrelevant, given the

     consecutive nature of restrictive housing sanctions routinely given out in the IDOC.

              87.    His problems continued in the subsequent months and years:

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          For example,
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            88.     There are literally dozens of disciplinary reports written on this prisoner in

     the last several years, and many do not warrant a restrictive housing sanction. I do not

     assert that this is an easy prisoner to manage. To the contrary, he is difficult. But based on

     my experience overseeing programs for the mentally ill, constantly maintaining such an

     individual in restrictive housing is not a solution to help improve his behavior. This

     individual clearly suffers from mental illness                                                   .

     He needs treatment in a safe and secure mental health unit where he gets out of his cell

     regularly for structured treatment and recreational activities. Simply keeping him

     confined does no good and is likely exacerbating his mental illness.

            89.     There are multiple example65 of prisoners given restricted housing

     sanctions, supported by the recommendations of mental health staff, even though the

     recommendation says,

                                                                                           .66

            90.     The IDOC has modified and reduced the amount of time that prisoners can

     be sanctioned to DS, but their new Maximum Penalties for Offenders chart67 is still

     excessive and not rationally related to improving prisoner behavior. This is compounded

     by the frequent back-to-back DS sanctions for prisoners who act out, sometimes due to

     the stress of DS, and see their sanction time extended after their initial placement and, as

     is documented above, can extend for years.

            91.     Basically, the length of stay in DS for prisoners in the IDOC is sentence

     based. This is contrary to what is going on in the field of corrections nationally. The



     65
        For example,
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        See
     67
        038756 – 038759

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     Association of State Correctional Administrators (ASCA) is the primary professional

     organization for directors of state corrections departments. They began to become

     concerned with the overuse of DS several years ago. As a result, they published a

     resolution that included guidelines for how DS is to be used. They say,

                    Determine an offender’s length of stay in restrictive status
                    housing on the nature and level of threat to the safe and
                    orderly operation of general population as well as program
                    participation, rule compliance and the recommendation of
                    the person[s] assigned to conduct the classification review
                    as opposed to strictly held time periods68

            92.     IDOC uses restricted housing sanctions for offenses that do not require it,

     based on my own experience as a practitioner and as an expert working in multiple

     jurisdictions around the country. It is also contrary to the ACA standard that limits

     restrictive housing to “those circumstances that pose a direct threat to the safety of

     persons or a clear threat to the safe and secure operations of the facility.”69 The IDOC is

     far out of step with this standard for how disciplinary segregation is used and what is

     occurring in other jurisdictions around the country.

            93.     I interviewed a prisoner at Pontiac who has been in some form of

     restricted housing since       He received disciplinary reports as follows.

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                                                                               .70

                       •




     68
        ASCA Resolution # 24, September 4, 2013, page 2, # 5,
     https://asca.memberclicks.net/documents.
     69
        American Correctional Association, Restrictive Housing Performance Based
     Standards, ACA Standard 4-RH-0001 (Aug. 2016).
     70




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             94.      A prisoner I interviewed at Lawrence who has been in restricted housing

     since         received the following:

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             95.      Another prisoner I interviewed at Lawrence received the following:

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             96.      A prisoner I interviewed at Menard received the following:

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             97.     Another prisoner I interviewed at Menard received the following:

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             98.     A prisoner I interviewed at Pontiac received a                     sanction

     for writing an article in a journal. In that journal he said,




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                     inmates can stop getting hurt by medical staff and
                     correctional officers. I would like for people to contact me
                     on this issue. Help me start this movement.83

     The charge for this language was for                                                    .



                   . In my experience this charge is simply not accurate. Instead, it is



                             .

            99.      The same prisoner received a sanction of                              for

                       .84

            100.     A prisoner I interviewed at Dixon                                                        .

     He was charged and found guilty of                                     . He received a

                                 During the hearing he said,
                                                                                       85
                                                                                            This
                                                                                                 86
     prisoner is described as someone that                                                            It is

     completely inappropriate for discipline a prisoner for                   , yet I have seen

     several such examples in the files I have reviewed.

            101.     This same prisoner received a sanction of



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              102.    In the limited sample I have seen there were dozens of examples of

     prisoners receiving a sanction of disciplinary segregation for behaviors that are not

     serious threats to institution security. This limited sample suggests that hundreds of

     prisoners are similarly treated this way.

              VII.    Disciplinary Hearings

              103.    The way a prisoner is sanctioned to DS in IDOC is through their hearing

     procedures for infractions, and there are multiple problems with the IDOC’s practices,

     including an overreliance on confidential information, failure to call witnesses, and the

     lack of a permanent audio record of the hearing itself that could be accessed on appeal if

     the finding of the Adjustment Committee is challenged.

              104.    The perception of prisoners of the process for imposing discipline is

     universally quite poor. I heard this during my interviews with prisoners when I inspected

     IDOC facilities, and it is a common refrain in their answers to defendants’ interrogatories

     prisoners submitted for this case.

              105.    In the interrogatories, prisoners made the following statements,

                            Mr. Fillmore responds that he received
                             indeterminate Disciplinary Segregation along with a
                             determinate sentence for non-fatally injuring a
                             guard 17 years ago. Despite serving that sentence,
                             he remains in extreme isolation. Mr. Fillmore has
                             filed many grievances related to his indeterminate
                             time in extreme isolation, and has not received
                             responses to at least 10 of those grievances. Further,
                             he is not allowed to present evidence or call his own
                             witnesses at any hearings he receives.88




     88
          2017.06.20 Supplemental Interrogatory Responses of A. Fillmore, page 14

                                                                                                 60
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                           Mr. Davis responds that on several occasions, he
                            had hearings where he was not permitted to call
                            witnesses nor question his anonymous accuser.89

                           Mr. Dansberry was sentenced to

                                                ,90 despite the fact that

                                  Mr. Dansberry filed a grievance contesting


                                      91



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            106.    In my interviews with prisoners, similar concerns were expressed.

            107.    One inmate at Pontiac told me that the hearings are “bogus” and that

     witnesses are routinely refused. Another at Pontiac told me that there was no evidence

     presented at his disciplinary hearing other than what was described as “confidential.”

     Another said there are “no real investigations” and that “witnesses are not called.”

     Another described a situation where he was in AD, received an infraction for gang

     activity for which he received DS based solely on confidential information that he had no

     opportunity to refute or challenge, and when done with his DS sanction was immediately

     returned to AD status. Yet another at Pontiac said the hearing process is a joke, you

     present your case but it does not matter. He once called for five witnesses and none were

     called, and there was no reason given to him for their denial. He also asked for a copy of


     89
        2016.12.12 Henry Davis’s Reponses to Defendant’s First Set of Interrogatories, page 6
     90
        Doc.
     91
        2016.12.12 Percell Dansberry’s Response to Defendant’s First Set of Interrogatories,
     page 6.
     92
        Doc.
     93
        Id.

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     a related internal affairs investigation that was used against him during his hearing but

     received no response to his request. And another at Pontiac said the Adjustment

     Committee that conducts the hearings refuses to review any videos of incidents resulting

     in infractions for staff assault, even though the videos are available and may well

     exonerate the prisoner.

             108.    A prisoner at Dixon described his hearing being conducted at his cell front

     and no witnesses were called, even though he had requested them. Another prisoner at

     Dixon confirmed the practice of holding hearings at the cell front. He has also called for

     witnesses but had no knowledge that his witnesses were ever interviewed.

             109.    During my inspection at Dixon I witnessed hearings being conducted at

     cell front. This is a very poor practice. First of all it is not confidential as non-involved

     prisoners and staff can hear what is being discussed. Second, based on my experience of

     trying to communicate through cell doors, simple human conversation is simply much

     more difficult when both parties are standing, cannot clearly see the other person, and

     have to attempt to speak through the door. The picture below shows one such cell-front

     hearing.




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            110.    A prisoner I interviewed at Logan told me the hearings were “not fair.”

     She grieved that her witnesses had not been called during her disciplinary hearing. The

     response to the grievance confirms the IDOC’s practice of calling witnesses only when

     they choose to:




                                              . 94

     While in my experience prison officials holding disciplinary hearings should have some

     discretion to call or not call witnesses, any decision not to do so should be part of the



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     hearing record, including an articulation on the record of why they choose not to do so.

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            111.    A Menard prisoner described being found guilty of multiple tickets for

     gang activity, but never got a chance to see any evidence as it was based on confidential

     information that was not provided to him. Another told me about an infraction he

     received that was expunged on appeal, yet he was held in segregation on AD status after

     that fact was known. Other prisoners at Menard also described the hearing process as

     “bogus.”

            112.    A prisoner at Lawrence told me he had been pressured by internal affairs

     staff to “snitch” on inmates, refused to do so, and then received a ticket for STG activity.

     Another said he was finally released to general population after several years on AD

     status but within 15 days received another infraction for STG activity, based solely on

     confidential information, which he was not provided during his hearings. Following his

     DS sanction he was returned to AD.

            113.    A prisoner at Logan described to me that the hearings process is “not fair.”

     Another described the process as “bogus.” Characterizations I heard across the prisons.

     A third prisoner at Logan told me her hearing was, “not like a hearing” and that it was not

     fair. And another said that internal affairs rely on snitches, but prisoners have figured that

     out and give false information on other prisoners in order to get their enemies in trouble.

     The use of such consistent language, including ”not fair” and “bogus”, in my opinion,

     indicates uniformity in the perception and experience of the prisoner population of IDOC

     hearings.



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            114.       While there are other areas of operation in the IDOC that undermine

     prisoners’ perception of legitimate authority by IDOC officials, the depth of the

     collective angst about the hearing process by nearly every prisoner I interviewed is

     striking and very important to understand why IDOC’s systemic use of restrictive

     housing is so troubled. In my own experience as a correctional administrator,

     institutional security is reliant on the perception by the inmate population that the

     profound authority corrections officials have over prisoners is exercised in a legitimate

     manner, which is judged by prisoners as whether or not the staff are capable and

     demonstrate through their actions that they are fair. Authorities that run prison systems

     sometimes make mistakes, but when they do, it is critical for institutional security that

     prisoners know mistakes will be corrected when they are identified by actually making

     the relevant corrections. But it is even worse when entire systems are perceived to be

     unfair. That is certainly my opinion based on my experience when I was a Superintendent

     of a prison and when I supervised Superintendents for over 20 years of my 35-year career

     in corrections.

            115.       But this is more than a personal opinion. Researchers have looked at the

     issue of the legitimate exercise authority when studying violence in prisons.

                       In England, the prestigious Woolf Inquiry into the
                       disturbances at Manchester Prison and elsewhere in 1990
                       took the view that a widespread sense of injustice among
                       prisoners about their general treatment in prison was
                       causally implicated in the scale of the disorders (see, e.g.,
                       Woolf 1991,paras. 9.24, 14.437-38). “Injustice” was a term
                       used by Lord Justice Woolf in a rather broad way, to
                       include the basic “quality of life” for prisoners (adequate
                       living quarters, food, and so on), various informal aspects
                       of inmate life (including the manner of prisoners' treatment
                       at the hands of staff), and formal procedures (such as the
                       disciplinary [emphasis added] and grievance systems).



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                    Woolf did not use the term “legitimacy,” but in the debates
                    following publication of the Woolf Report, my colleagues
                    and I took the view that, if indeed “justice” does help to
                    sustain order in prisons (as Woolf proposed) then it does so
                    because of the contribution that it makes to the legitimation
                    of the prison authorities and the prison regime in the eyes
                    of the prisoners. In our analysis, the acquiescence or
                    otherwise of prisoners to the kinds of authority claimed or
                    exercised over them by officials is a variable matter,
                    centered around a complex matrix of interactions between
                    prisoners' expectations of their captivity, and the reality of
                    that captivity. In particular, the core issue is whether,
                    judged by the reasonable standards of the wider community
                    in which the prison is set, prisoners come to see the
                    behavior of their custodians as being justifiable,
                    comprehensible, consistent and hence fair-or, alternatively,
                    unwarranted, arbitrary, capricious, and overweening (for
                    fuller analyses, see Sparks and Bottoms 1995; Sparks,
                    Bottoms, and Hay 1996).96

            116.    While the perception of authority is critical to the disciplinary hearing

     process, there are also a number of problems with the related IDOC policy,

     Administrative Directive 504.600 – 504.680, Administration of Discipline. This policy

     was recently revised in 2017.

            117.    A quick, low cost and very efficient way to improve the perception of

     legitimacy of the disciplinary process is to require that the disciplinary hearing be

     recorded, to include the testimony of all witnesses. This is a common practice in most

     jurisdictions and creates a record of what actually happened at the hearing that can be

     examined on appeal or if there are disputes about whether or not the discipline policy was

     actually followed. It also has the secondary impact of improving the professionalism of

     the staff involved since their performance can and should be reviewed by higher



     96
       Anthony E. Bottoms, Interpersonal Violence and Social Order in Prisons, Crime and
     Justice, Volume 26, Prisons (1999), page 254.

                                                                                                66
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     authorities. The absence of a record makes it impossible to determine what transpired

     during the hearing. The current policy for IDOC makes this critical practice of recording

     hearings permissive.

                     The Adjustment Committee may require that any part of
                     the hearing process be recorded, including, but not limited
                     to, a self admission of guilt by the offender.97

     This was a complaint I heard from the prisoners I interviewed, that there was no actual

     record of what happened at the hearing. As a former Superintendent, I sometimes relied

     on these recordings to inform my decision making when responding to a prisoner’s

     appeal. This would not be possible in the IDOC unless the Adjustment Committee elects

     to record the hearing.

             118.    The reluctance of IDOC to record their hearings is demonstrated in the

     deposition of Mike Atchison, former Chief of Operations for IDOC. First, he says it is a

     matter of cost.98 While there is certainly a cost it is relatively minimal for a large agency.

     But then he says, when discussing the possibility of recording hearings, “That has an

     undermining effect on staff too.”99 He expresses his concern that the staff may not feel

     they are trusted if the hearings were to be recorded. I think he is clearly wrong about this,

     and it does have the flavor that the tail is wagging the dog. It is not about trusting the staff.

     The purpose of recording hearings is to establish a record that can be reviewed when

     important decisions are being made about the freedoms and privileges of the prisoner or

     whether or not someone might be sanctioned to restrictive housing.




     97
        010891
     98
        Atchison, Mike 10-22-2018 deposition, page 69, line 6.
     99
        Ibid, page 71, line 1

                                                                                                  67
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            119.    Another problem with the current policy, it does not require that the

     Adjustment Committee review any video or photograph that may be available of the

     incident being adjudicated. If the prisoner challenges the accuracy of the officer’s

     disciplinary report and video or photographs exist, it should be required viewing by the

     adjustment committee, and must include a process whereby the prisoner is able to view

     the video or photos. Videos can be and often are clear evidence to determine whether or

     not misconduct occurred. Several prisoners shared with me they believed they would

     have been exonerated if the Adjustment Committee had viewed by the related video.

            120.    And another issue, the current policy allows the use of a voice stress

     analyzer (VSA).

                    Polygraph or voice stress analysis results may be
                    considered, but may not be the sole basis for finding the
                    offender guilty of the offense.100

     The reliability of the VSA has been questioned for more than a decade. In 2004, Mitchell

     S. Summers, an associate professor from the Washington University in St. Louis said, “In

     our evaluation, voice-stress analysis detected some instances of deception, but its ability

     to do so was consistently less than chance — you could have gotten better results by

     flipping a coin.”101 A second study, reported in 2008, used nearly identical language in

     describing the VSA: “According to a recent study funded by the National Institute of

     Justice (NIJ), two of the most popular VSA programs in use by police departments across




     100
        010891
     101
        Jerry Everding, Research Casts Doubt on Voice-Stress Lie Detection Technology
     (Feb. 10, 2004), available at http://news.wustl.edu/news/Pages/669.aspx.

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     the country are no better than flipping a coin when it comes to detecting deception

     regarding recent drug use”.102

            121.     The fact that the VSA is apparently used in the Illinois Department of

     Corrections is of great concern to this writer. In my experience as the Deputy Secretary in

     the Washington State Department of Corrections, when I directly supervised the chief

     investigator for our agency, we explored and rejected the potential use of the VSA in our

     system. We determined it was a tool without sufficient evidence of its efficacy to use in

     inmate discipline cases where liberty interests were at stake. Unfortunately, it is

     apparently relied upon within the IDOC, and they should abandon this practice.

            122.     Other problems with the IDOC hearing process include frequent reliance

     on confidential information to find prisoners guilty—witness testimony that cannot by

     definition be rationally challenged since the details of the testimony are not shared with

     the prisoner, making it next to impossible for the prisoner to mount a defense. Many

     prisoners wind up in DS (and in AD) as a result of confidential information. And,

     sometime hearing officials call witnesses to the hearing requested by the prisoners and

     sometimes they do not. When prisoner witnesses are not called there must be clear

     documentation in the record that they were not called and why they were not called.

            123.     In August of 2018 the hearing record for a prisoner says,

                   Then, on the same page in the narrative report it says,




     102
         Kelly R. Damphousse, Ph.D., National Institute of Justice, “Voice Stress Analysis:
     Only 15 Percent of Lies About Drug Use Detected in Field Test,” March 16, 2008,
     nij.ojp.gov: http://nij.ojp.gov/topics/articles/voice-stress-analysis-only-15-percent-lies-
     about-drug-use-detected-field-test

                                                                                                   69
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                                103
                                      Based on my experience (I served as a disciplinary hearing

     officer during my career for most of the 1980’s) it would not be all that difficult to make

     some inquiries to figure out who the requested prisoner was. However, the accused

     prisoner’s own nine-page statement submitted in advance of the hearing clearly shows



                 . The accused prisoner also identified in his nine-page statement

                                               . He also raised

                                                                                      .104 In this

     incident the hearings officials



                                                                                                 105



     The prisoner was assigned a sanction of                      without the ability to adequately

     challenge the allegations or have his witnesses testify. This pattern is typical in the IDOC.

            124.     Failing to call witnesses requested by the accused prisoner has been going

     on for a long time in the IDOC. In June 2013 a prisoner

                                                  .

                                             . The reason given was,

               ”106 He was found guilty and received

     without the opportunity to present an adequate defense.

            125.    The IDOC disciplinary hearing process would be greatly improved if there

     were an audio recording of hearings. That would allow the prisoner to construct an


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     adequate appeal (to include possible litigation) when they believe the hearing process was

     unfair or violated IDOC hearing rules. Absent that kinds of accurate information, it is

     impossible for the prisoners to challenge what they believe are errors in the hearing

     process.

            126.     As a result of these flaws in policy and practice in IDOC disciplinary

     hearings, prisoners are unnecessarily placed at risk of harm when they are sentenced to

     time in restrictive housing and subject to the stresses well-known of such placement.

            VIII. Placement in Administrative Detention and Subsequent Reviews

            127.    I interviewed several prisoners in AD. It was universal that these prisoners

     could not articulate what they needed to do to get out of restrictive housing placement,

     and many were being held for reasons that were never fully articulated to them. They

     were simply told, over and over again, that the information resulting in their confinement

     was confidential. Some had been in this status for years, some for decades. AD placement

     is perceived as a dead end and prisoners were left with little hope about their futures. This

     is a very bad way to manage a restrictive housing population. Prisoners in restrictive

     housing, as do the staff, need to know what a prisoner must do in order to gain release to

     general population. Such a structure impacts the staff’s approach to managing the

     restrictive housing population and it clarifies for the prisoner a pathway out of their

     current situation. And if they are not likely suitable for release anytime soon, which

     should be a very rare occurrence, they still need to know what is expected of them to

     improve their conditions of confinement. Again, the perception by the prisoners is that

     IDOC’s authority is not being exercised in a legitimate manner. IDOC policy describes




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     AD as a “nondisciplinary status of confinement.”107 The prisoners don’t believe it and

     repeatedly mocked that policy statement. I agree with them. It is clearly an experience of

     being punished.

            128.    Section 504.690 of Title 20 of the Illinois Administrative Code governs

     AD placement in the IDOC, revised in 2017.108 There is also a related policy, 05.12.101,

     Administrative Detention Placement. On the eve of completing this report, Plaintiffs’

     received a revised version of 05.12.101, effective on September 1, 2019. While ever

     hopeful that perhaps this version would be an effort by IDOC to catch up with what is

     going on nationally regarding restricted housing, the new policy makes very few changes.

     Further, as explained below, it does not clearly define a way to either move through the

     phases or out of AD status entirely, provides no clearly defined criteria for who gets

     placed in AD status, nor any improvements to the hearing process, and the isolation in

     AD remains extreme and potentially without limit.

            129.    Criteria for placement in AD is very vague in the Administrative Directive

     and includes such catch-all language as,“[i]nstitutional order” and “safety and

     security.”109 This is unchanged by the new policy. While those are important principles in

     corrections, they have been modified in other jurisdictions as corrections professionals

     have learned the risk of harm that segregation can present to prisoners.

            130.    The American Correctional Association has modified their standards to

     further reduce reliance on the historical catch-all language used by the IDOC (and




     107
         20 Ill. Adm. Code 504.690.
     108
         010906 – 010907
     109
         010907

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     historically used in other jurisdictions) so that the specific threat is articulated and

     genuine. The current standard reads as follows:

                      Written policy, procedure and practice provide that the
                      placement of an inmate in Restrictive Housing shall be
                      limited to those circumstances that pose a direct threat to
                      the safety of persons or a clear threat to the safe and secure
                      operations of the facility.110

     ACA has inserted “direct threat” and “clear threat” in their standard, language that

     emphasizes that restrictive housing placement must be weighed against the risk of harm

     to the individual prisoner. These additions make clear that the risk is real and that they

     must be articulated both in policy and in the documentation of individual cases. The

     IDOC policy has not made changes consistent with this standard.

             131.     For prisoners placed on AD status in the IDOC, if appears that no review

     of the decision for AD placement is required to take place for 30 days.111 The policy

     language says,

                      Absent a finding of exigent circumstances112 by the
                      Committee, an administrative review hearing shall be
                      conducted within thirty days after an offender’s initial
                      placement in administrative detention.113

             132.     Even worse, the policy does not require that the prisoner be informed of

     the committee’s decision for up to another 30 days. The policy says,

                      The decision shall be documented, in writing, and a copy
                      provided to the offender within 30 days of the Committee
                      review, and the original shall be maintained in the
                      offender’s master file.114


     110
         American Correctional Association, Restrictive Housing Expected Practices, January
     2018, 4-RH-0001. “Restrictive Housing” is a synonym for segregation.
     111
         010870
     112
         “Exigent circumstances” is not explained or defined.
     113
         010870
     114
         010871

                                                                                                  73
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     This is unchanged in the new policy.

            133.    In my experience as a practitioner and corrections expert these time

     frames for a hearing and notice to the prisoner is far beyond the policy and practice in

     other jurisdictions and will result in prisoners being held in restrictive housing when they

     could and should be released as a result of an official review.

            134.    The ACA calls for an “official review” within 24 hours.115 IDOC has no

     such requirement until after the person has been placed in segregation for thirty days.

     This omission in policy and practice alone is egregious and likely to result in problems

     with prisoners who are not told for over four weeks why they have been moved to

     segregation.

            135.    The ACA then requires that,

                    Written policy, procedure, and practice provide for a
                    review of the status of inmates in Restrictive Housing by
                    the classification committee or other authorized staff every
                    seven days for the first 60 days and at least every 30 days
                    thereafter.116

            136.    The IDOC also ignores this standard and instead calls for subsequent

     reviews to take place every ninety days. Their policy says,

                    The Committee shall meet at least once every 90 days, or
                    sooner if deemed appropriate, to conduct a review of each
                    offender placed in administrative detention to determine if
                    continued placement is appropriate. The Committee shall
                    afford the offender the opportunity to appear in-person
                    before the Committee at six-month intervals during the
                    time of one of the 90-day reviews.117


     115
         American Correctional Association, Restrictive Housing Expected Practices, January
     2018, 4-RH-0001.
     116
         American Correctional Association, Restrictive Housing Expected Practices, January
     2018, 4-RH-0008 (Ref: 4-4253).
     117
         010871

                                                                                                74
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     This is unchanged in the new policy.

               137.   The IDOC ignores the standard that prisoners be reviewed every seven

     days for the first sixty days, a requirement that in my opinion that allows the correctional

     staff to determine how the prisoner is doing managing the stress of living in a segregation

     cell. The IDOC requirement for ninety-day reviews after the first review is longer than

     the ACA requirement for sixty-day reviews after the first thirty-day review. These review

     requirements are unchanged by the new policy.

               138.   Additionally, problematic is that the IDOC only allows the prisoner to

     attend every other one of the reviews, not every one. This omission in policy does not

     allow the prisoner to always be there to present their case, another frustration for the

     prisoner. The prisoner should be allowed to attend every hearing and be able to explain

     why they think they should be released from AD status. This is unchanged in the new

     policy.

               139.   Unfortunately, the hearings that do occur are perfunctory and do not

     meaningfully engage the prisoner to explain why they are in AD and what they have to

     do in order to return to general population. This can be seen in the records of those

     hearings, that often say very little, and in the frustration expressed to me by prisoners on

     AD status during my private interviews.

               140.   This is confirmed in the deposition of former Chief of Operations, Mike

     Atchison when discussing if there is a way a prisoner knows what they need to do to get

     back to general population from AD status,

                      Q. There is no contract or guidance or anything like that
                      that is given to a prisoner saying if you do A, B, and C
                      then we are going to let you out of here?



                                                                                                75
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                      A. I don’t know of one, no.118

             141.     The new policy does reference “programming participation”119 in

     determining whether or not to continue placement in AD as part of the review process,

     but there is no way, at this point, to determine if such programming is even available or

     will meaningfully impact the length of time a prisoner must serve in restricted housing.

             142.     One of the prisoners I interviewed told me he did not know what he had to

     do to get out of AD and that there is no program associated with AD that might help him

     achieve his release. I reviewed the available records of his reviews120 and he is correct.

     This individual first was assigned to AD at Menard121 in                   after serving a

                                                                                         .122 In

     that initial review

                                                             . In                 his status was

     reviewed again and the information provided in this report



                                                                                          .123 A

     written notice followed to the prisoner telling him
                    124
                                                                                       . Nor is

     there                                                                             . This


     118
         Atchison, Mike 10-22-2018 deposition, page 141, lines 18 – 22
     119
         Administrative Detention Placement, .05.12.010, effective 9/1/19, I.5.c
     120
         The last review I have for this person dates from         , however he was still on
     AD when I interviewed him in 2018.
     121
         He had previously been in AD at Tamms since         He has been primarily rotating
     between AD and DS ever since.
     122
     123
     124




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     pattern then follows for subsequent reviews;

                                                             .125 In the last review the report

     says he was
                            126



                                                               . This person is simply stuck,

     with no articulated path out of AD. This pattern is typical of other prisoners I interviewed

     who were in AD status.

            143.    I interviewed several prisoners who were in AD status.127 The “no way out”

     nature of AD best describes their comments. Here are comments from a few of them:

                        •   There are no programs in AD. The AD review
                            process is meaningless.

                        •   His ticket was expunged but they keep him in AD
                            anyway. “I could not tell you what it takes to get out
                            of AD.”

                        •   He has been in AD for violent behavior since 1999.
                            He says he has no disciplinary reports for violence
                            since.

                        •   He stopped going to the AD reviews; it is a waste of
                            time. Won’t ever get back to GP. The only way out
                            is to snitch.

                        •   The only programs for AD are if you are SMI. He
                            was told, “If he did not become a snitch, we will put
                            you in AD.”

                        •   He was in a fight in 2016. Staff wanted him to
                            snitch, but he couldn’t. The written response after a
                            hearing simply says, “remain.” He told me the
                            hearings were a “hollow formality.” At any time the

     125
     126
     127
        I interviewed 4 prisoners on AD status at Lawrence. Inexplicably, there was nothing in
     their disclosed files documenting any of their AD reviews.

                                                                                                  77
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                             STG issue can be raised to keep him locked up or to
                             lock him back up.

                         •   He attends his hearings; they ask questions but are
                             disrespectful. They are not clear why he is in AD.
                             He received a gang ticket in 2002. It was expunged,
                             but he believes this may be what is keeping him in
                             AD. He has not received a ticket in 2 years. They
                             want him to snitch, but he can’t. It would put him
                             and his family outside the prison in danger.

                         •   “Does anything I do matter?” No idea how to get
                             out. He offered me this poem:

                             Hopelessness is a poster on my wall.
                             I didn’t put it up, but I can’t take it down.
                             When I watch TV to distract myself, I can see it out
                             of the corner of my eye.
                             When I go outside, I can escape it.
                             When I go back in, dread sets in.
                             I know I will have to look at it again.

             144.    What is common about all of these cases is a lack of clear direction to the

     prisoner or of any kind of system to work prisoners out of segregation. The problem is

     not just that prisoners are not told of what they need to do to get out of AD—the rules

     themselves provide no guidance to staff. This apparently leaves the decision up to the

     subjective judgment of staff that a person is “ready” to be released from AD, with no

     standards to guide this decision. The perception among prisoners that the system is

     arbitrary is correct.

             145.    Dr. Austin, who worked with Vera in 2011 to assess IDOC’s use of

     restrictive housing, is a widely recognized corrections expert, and he said in his

     deposition,

                     And then if you are admitted to administrative segregation,
                     there has to be a structured way that you can get out of an
                     administrative segregation. And that has to be transparent




                                                                                               78
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                    and I guess reasonable in terms of how long it’s going to
                    take you to get out of an administrative segregation.128

     I have worked with Dr. Austin on segregation issues in the states of New York and

     Mississippi. I have great respect for his work and could not agree more with the opinion

     he expressed above. It is irresponsible and detrimental to good prison safety and security

     to place prisoners in segregation and leave them in the dark as to what they need to do to

     earn their way back to general population.

            146.    The IDOC is out of step with changes in corrections practices regarding

     restrictive housing that are taking place in multiple jurisdictions around the country.

            147.     In my own state, in the Washington Department of Corrections (WDOC),

     we began focusing on ways to decrease the numbers of prisoners in restrictive housing,

     especially those who frequently returned to that status, over a decade ago. When I was

     working in the WDOC, we launched two programs aimed at getting inmates off of

     Intensive Management Status (IMS)—the equivalent of the IDOC restrictive housing

     population—one at the Washington State Penitentiary in Walla Walla and one at the

     Clallam Bay Corrections Center. Researchers from the University of Washington (UW)

     tracked outcomes of both programs.129 130

            148.    The outcomes for the program were impressive. The evaluation of the

     program at Walla Walla was open and candid. It concluded that inmates who went




     128
         Austin, Ph.D., James Frank 10-02-2017 deposition, page 103, lines 18 - 24
     129
         The Reintegration Program (RIP at Washington State Penitentiary, A Program
     Evaluation, David Lovell, Ph.D., M.S.W., University of Washington, August 2009 and
     Memo from David Lovell, CBCC ITP Evaluation, July 20, 2010.
     130
         We lost the program at Walla Walla (it has since been reconstituted) as well as our
     twenty-year contract for a collaborative relationship with the UW due to lack of funding
     caused by the global economic collapse of 2008.

                                                                                               79
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     through the program were four times more likely to not return to restrictive housing than

     those in a control group.

               149.   The program at Clallam Bay is still in existence to this day. As our

     contract with the UW was ending, the lead researcher authored a memo that indicated

     inmates who completed the program were six times more likely not to return to restrictive

     than those in a control group.131 The last time I spoke to the manager of this program at

     Clallam Bay, he told me that 80% of program graduates were not returning to restrictive

     housing.

               150.   In the State of New York, a Settlement Agreement with the state was

     achieved regarding their restrictive housing practices in 2015. The practices in New York

     then were very comparable to the practices in Illinois today regarding their overreliance

     on disciplinary segregation and very poor conditions of confinement in their restrictive

     housing units. I have served as monitor for the Plaintiffs in the Peoples v. Annucci case132

     and inspected their prisons for compliance with the agreement twice a year since 2016.

     Their system has changed dramatically. Their total restrictive housing population has

     been reduced by about 40%, and the conditions for prisoners have improved. They

     established step-down programs and other specialty programs to help prisoners learn new

     skills to help keep them from returning to restrictive housing. While there is still work to

     do in New York, much has been achieved.

               151.   I have also been part of achieving settlement agreements regarding

     restrictive housing in the states of Arizona and Delaware. Similar changes are going on in

     multiple jurisdictions around the country, some due to litigation and others due to agency


     131
           CBCC ITP Evaluation, David Lovell, July 20, 2010.
     132
           No. 1:11-cv-02694 (S.D.N.Y.)

                                                                                                80
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     leadership. It is unfortunate that Illinois has done so little in this regard when there is so

     much more they could be doing to improve the safety and security of their prison

     facilities.

             IX.     Reports of Excessive Physical Force and Verbal Abuse

             152.    Incident reports and videos of use of force events were not provided in

     discovery for this report. However, prisoners consistently reported to me many examples

     of both during my private interviews. I have interviewed hundreds of prisoners in dozens

     of prisons and jails in twelve different states working as a corrections expert or consultant

     during the last six years. Only once in a single prison system have I encountered such a

     volume of reports of physical and verbal abuse133 as I heard during my prison inspection

     of IDOC segregation units. The volume of such reports from the prisoners was

     astounding and is of great concern to me as a long time corrections professional.

             153.    Dr. Stewart in his report as a monitor in the Rasho v. Baldwin case said,

                     The final area I wish to point out in this summary is the
                     persistent evidence of physical abuse perpetrated by the
                     custody staff at Pontiac on the mentally ill offenders
                     housed in the mental health unit as well as other
                     segregated housing units at Pontiac. . . . I am requesting
                     that the Department conduct a full scale investigation of
                     this abuse and report the results to the monitoring team as
                     this is clearly a component of the Settlement
                     Agreement.134



     133
         During that prison inspection the Deputy Director of the department was at the prison.
     I took him aside and told him what I had been hearing from the inmates in his prison
     during my interviews. He acknowledged he was aware of the problem and had the
     funding to install cameras in the area where most of the abuse was occurring. A year later
     I inspected the same facility and the Deputy was again present. He took me to the areas of
     concern and showed me the new cameras. I then interviewed prisoners and reports of
     abuse had all but been eliminated.
     134
         Second Annual Report of Monitor Pablo Stewart, MD, Rasho v. Baldwin, No. 1:07-
     cv-1298-MMM-JEH at Dkt. No. 2122 (C.D. Ill.), page 10.

                                                                                                  81
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                                                 ***

                       Corporal punishment is an open question with persistent
                       complaints at Pontiac that the Monitor finds credible and
                       which have not, in his view, been adequately addressed in
                       almost 24 months of raising it. Multiple examples of
                       alleged custody staff abuse as well as several alleged
                       incidents of unprofessional conduct at Logan are very
                       troubling.135

               154.    Unfortunately, the reports I received from prisoners went beyond Pontiac

     and Logan. I had private interviews with fifty-four prisoners during my inspection of six

     IDOC prisons. Thirty-six prisoners reported being the subject of physical abuse or of

     personally witnessing such incidents. 77% at Pontiac, 73% from Dixon, and 100% of the

     prisoners at Menard made this claim.136 This was not information I was seeking in my

     interviews. It simply emerged as prisoners described to me their experience in IDOC

     segregation units (not necessarily the prison they were in at the time).

               155.    The types of claims made were primarily physical beatings, almost always

     out of range of security cameras. Other concerns were expressed about insufficient

     decontamination after chemical sprays were used and officers demanding that two

     prisoners fight before they would move them from a double cell situation. There were

     also racial complaints, primarily at Menard, where racial epitaphs were made towards

     African American prisoners. As we were departing Lawrence after spending a day at the

     facility, the Major said, “We are the septic tank of IDOC.” That comment was

     unprofessional and indicative of a culture that in not conducive to good security or

     rehabilitation.




     135
           Ibid, page 94.
     136
           The rate at Stateville was 40%, 33% at Logan, and 20% at Lawrence.

                                                                                             82
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               156.   While I have not had an opportunity to review all of IDOC’s Use of Force

     policies, I have seen their policy on cell extractions.137 It is fundamentally flawed, as it

     does not require an attempt to de-escalate a potential use of force situation for a prisoner

     who is securely locked in his cell but refuses to cuff up or otherwise exit the cell. I have

     been working on this issue in the Maricopa County jail since 2013. In my first report to

     the court I recommended that the county require an intervention by mental health staff for

     prisoners prior to force being initiated. In my subsequent reviews and reports to the court

     I found that about 60% of the time force was avoided. Such a change in practice has an

     impact on the culture of the facility as officers learn that it is safer for everyone when

     force can be avoided. The IDOC should adopt such a practice.

               157.   I strongly concur with Dr. Stewart’s recommendation that a full-scale

     investigation be conducted. I do not know whether or not this is occurring. I do know that

     any future work on this case about segregation in the IDOC should include a full review

     of how force is being used in those segregation units.

               X.     Risk of Harm to Prisoners Held in Segregation

               158.   There is broad consensus in the corrections field and in the academic

     literature that the placement of prisoners in segregation creates a significant risk of harm,

     for both people who are mentally ill and people without a preexisting mental illness.

     Corrections administrators have a responsibility to know this information and respond to

     reduce the risk of harm to prisoners in their care. It is not just the moral and legal

     imperative of organizing around the principle of reducing the risk of harm—in my




     137
           IDOC 05.01.173, Calculated Use of Force Cell Extractions

                                                                                                    83
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     experience reducing the use of segregation actually makes the prison safer for both

     employees and the prisoners.

            159.    Dr. Terry Kupers, one of the country’s foremost psychiatric experts on the

     impact of segregation on the mentally ill prisoner has said:

                   It is stunningly clear that for prisoners prone to serious
                   mental illness, time served in isolation and idleness
                   exacerbates their mental illness and too often results in
                   suicide. This is the main reason that federal courts have
                   ruled that prisoners with serious mental illness must not be
                   subjected to long-term isolation.138

            160.    In 2012, the American Psychiatric Association issued the following

     position statement:

                    Prolonged segregation of adult inmates with serious mental
                    illness, with rare exceptions, should be avoided due to the
                    potential for harm to such inmates. If an inmate with
                    serious mental illness is placed in segregation, out-of-cell
                    structured therapeutic activities (i.e., mental
                    health/psychiatric treatment) in appropriate programming
                    space and adequate unstructured out-of-cell time should be
                    permitted. Correctional mental health authorities should
                    work closely with administrative custody staff to maximize
                    access to clinically indicated programming and recreation
                    for these individuals.139

            161.    Dr. Terry Kupers has also opined on the dangerous effects of segregation

     on all prisoners, regardless of whether they have preexisting mental health conditions:

                    It is predictable that prisoners’ mental state deteriorates in
                    isolation. Human beings require at least some social
                    interaction and productive activities to establish and sustain
                    a sense of identity and to maintain a grasp on reality. In the
                    absence of social interactions, unrealistic ruminations and


     138
         Kupers, T., 2013, Isolated Confinement: Effective Method for Behavior Change or
     Punishment for Punishment’s Sake? The Routledge Handbook of International Crime and
     Justice Studies (2013), page 4.
     139
         APA Official Actions, Position Statement on Segregation of Prisoners with Mental
     Illness (approved Dec. 2012; retained Dec. 2017)

                                                                                               84
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                       beliefs cannot be tested in conversation with others, so they
                       build up inside and are transformed into unfocused and
                       irrational thoughts. Disorganized behaviors emerge.
                       Internal impulses linked with anger, fear and other strong
                       emotions grow to overwhelming proportions.140

             162.      Dr. Haney, a professor from the University of California-Santa Cruz and

     who is another expert in this case, has been involved with several landmark cases related

     to the impacts of segregation. He has said, based on the results of several decades of

     research, that,

                       There is not a single published study of solitary or
                       supermax-like confinement in which non-voluntary
                       confinement lasting for longer than 10 days, where
                       participants were unable to terminate their isolation at will,
                       that failed to result in negative psychological effects. The
                       damaging effects ranged in severity and included such
                       clinically significant symptoms as hypertension,
                       uncontrollable anger, hallucinations, emotional breakdowns,
                       chronic depression, and suicidal thoughts and behavior.141

             163.      In 2016, the American Public Health Association said,

                       Prisoners in long-term solitary confinement are subject to
                       significant mental suffering and deterioration. They may
                       develop anxiety, panic attacks, paranoia, cognitive
                       impairment, social withdrawal, somatic symptoms,
                       hypersensitivity to external stimuli, and perceptual
                       disturbances.142

             164.      One of the more recent studies about the risk of suicide comes out of the

     New York City jail system. That report found,

                       [T]hat acts of self-harm were strongly associated with
                       assignment of inmates to solitary confinement. Inmates

     140
         Kupers, T., Isolated Confinement: Effective Method for Behavior Change or
     Punishment for Punishment’s Sake? The Routledge Handbook of International Crime and
     Justice Studies (2013), page 5.
     141
         Haney, C., Mental Health Issues in Long-Term Solitary and “Supermax”
     Confinement, Crime & Delinquency (2003), page 49.
     142
         American Public Health Association, Solitary Confinement as a Public Health Issue,
     Policy No. 201310, November 5, 2013.

                                                                                               85
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                    punished by solitary confinement were approximately 6.9
                    times as likely to commit acts of self-harm after we
                    controlled for the length of jail stay, SMI, age, and
                    race/ethnicity.143

            165.    Based on my training and experience, segregation also presents risk to

     inmates who have not been previously diagnosed as mentally ill. The American Bar

     Association acknowledges this reality and the related research in their public statements:

                    Some prisoners are sufficiently mentally resilient (or their
                    stays in segregation sufficiently short) that isolating
                    confinement does them no lasting harm; for others, the
                    human cost can be devastating. Abundant research
                    demonstrates that prisoners in segregation often
                    experience physical and mental deterioration.144

            166.    In the face of the research and the consensus of standards on the issue,

     multiple jurisdictions, including my own, have taken steps to mitigate the risk that

     segregation presents to the mentally ill. Prison systems throughout the country have

     found that an overreliance on restrictive housing is not necessary for good institutional

     safety and security or conductive to motivating prisoners to change their behavior, and it

     often inflicts serious harm on prisoners.

            167.    As I referenced earlier in this report, the Washington DOC worked for

     more than a decade to establish effective step-down programs for prisoners who

     repeatedly returned to segregation. We targeted the most recalcitrant prisoners to see

     what we could do to offer them structured interventions that developed the internal skills

     and self-control necessary to help them live in general population. Researchers from the

     University of Washington studied our success with program outcomes. Much has been

     143
         Venters, et al., Solitary Confinement and Risk of Self-Harm Among Jail Inmates,
     Research and Practice, American Journal of Public Health, Vol. 104, No. 3, March 2014,
     page 445.
     144
         American Bar Association, ABA Standards for Criminal Justice, Third Edition:
     Treatment of Prisoners (2011), page 33.

                                                                                                 86
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     learned in Washington from these initial efforts and their step-down programs continue to

     operate and improve to this day.

              168.   While the IDOC has made some effort to reform their use of restrictive

     housing, their current practice continues to overuse the practice, placing too many

     prisoners at ongoing risk of harm in living conditions that are far below contemporary

     standards.

              XI.    Supplementation of Opinions

              169.   I reserve the right to supplement or amend my opinions in light of any

     critique of my report, any alternative opinions advanced by or on behalf of defendant, or

     additional evidence, testimony, discovery, or other information that may be provided to

     me after the date of this report. In addition, I expect that I may be asked to consider and

     testify about issues that may be raised by Defendant’s fact witnesses and experts at trial

     or in their reports. It may also be necessary for me to modify or to supplement my

     opinions as a result of ongoing expert discovery, Court rulings, testimony at trial, or

     ongoing studies and investigations.

              XII.   Conclusion

              170.   The IDOC has known for nearly a decade that the more time a prisoner

     spends in restrictive housing that his or her behavior does not improve. The IDOC invited

     the Vera Institute for Justice into study IDOC’s use of restrictive housing, a team that

     included Dr. Austin who I reference above. Vera told them in 2011,

                     Prisoners who spent less time in segregation were not more
                     likely to commit new violations during the first 12 months
                     of release to general population.145



     145
           008061

                                                                                                87
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              171.    Yet the IDOC has persisted in this failed strategy, making only minor

     modifications to the length of restricted housing sanctions that hearing officials may

     impose.

              172.    Vera had many more important messages to the IDOC regarding their

     restrictive housing practices, which have been ignored. Some of Vera’s findings included

     the following:

                     1. The current system is based predominantly on punishment
                     and degraded conditions of confinement, which assumes
                     that current levels of punishment are deterring subsequent
                     behavior.

                     2. The conduct exhibited by prisoners admitted to DS and
                     ADS warrant sanctions, but it is not clear that the times of
                     placement and lengths of stay are proportionate to prior and
                     current negative behavior.

                                                 ***

                     5. The conditions of confinement in DS are not acceptable
                     with respect to recreation, showers, mental health treatment,
                     or contacts with clinical-services staff, are not in line with
                     best or standard practices in other systems.

                     6. The use of the Step Down Program from ADS is
                     extremely limited. In part, this maintains the size of the
                     ADS population and contributes to long stays. Pontiac has
                     achieved positive outcomes in their ADRMP Step Down
                     Program and believes they can successfully serve more
                     participants in the program.146

              173.    In sum, Vera informed the IDOC, and I strongly concur, that they are

     relying on lengthy stays in restrictive housing, and it does not change behavior; that the

     conditions of confinement in their restrictive housing units are unacceptable; and they




     146
           010946

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     needed to expand their step down program. The IDOC did not heed this wise advice at

     the time, but it is time to do so now. To that end I recommend:

             174.    The IDOC limit the amount of DS time to 30 days, and that any

     subsequent sanctions are not served consecutively. If a prisoner receives a 30 day

     sanction and then another, there be a break between serving those sentences. Limiting DS

     to 30 days will require a change in policy.

             175.    The policy guiding disciplinary hearings needs to be revised to require

     audio recording of all hearings. Findings of guilt for gang involvement must be based on

     actual behavior and not simply the perception that someone is a “gang leader.”

             176.    Rather than allow staff members from the facility to conduct disciplinary

     hearings, the IDOC should have individual hearing officers report outside the chain of

     command of the prison where they are doing hearings. A best practice is to have hearing

     officers report to central office and have them trained by attorneys familiar with prison

     case law, either the Illinois AG’s office or by IDOC in-house counsel. This will ease the

     perception that the hearings are not fair since the hearing officers report to a central

     authority and not through the chain of command to the facility warden. In my experience,

     training developed and delivered by subject-matter expert attorneys will also reduce

     disciplinary-related litigation overall.

             177.    Prisoners who require secure confinement after serving their DS sentences

     should be moved to AD. The policy for AD must be rewritten to mirror current ADA

     standards for restrictive housing placement and review.




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            178.    All prisoners in AD must be eligible to participate in a step down program.

     Again, Vera offered concrete suggestions that are patterned after other jurisdictions,

     including my own in the WDOC:

                        Proposed Incentive Program

                        •   90 Days in segregation

                        •   Request to be in the program

                        •   3 Tiers/ 90 days in each tier

                        •   Face to face reviews

                        •   Mutual behavioral contract

                        •   Incentives and privilege restorations will increase
                            with the completion of each tier and behavior
                            contract.147

            179.    I concur but go further. The content of the step down program must be

     based on the principles of cognitive behavior therapy (CBT). The National Institute of

     Corrections offers several studies about the program’s effectiveness.148 In addition,

     implementation of CBT is relatively low-cost. Those offering the program must be

     trained, and fidelity to the program model is crucial, but it does not require an advanced

     degree to deliver CBT. Additionally, prisoners in the step down program should have 8 –

     10 hours of out-of-cell structured treatment time each week and, beginning with the ACA

     standard of 1-hour out-of-cell recreation a day, should advance to 10 hours of

     unstructured out-of-cell recreation time each week.149


     147
         016198
     148
         https://nicic.gov/cognitive-behavioral-therapy
     149
         It is my understanding that the Rasho settlement requires 10 hours out of cell time for
     prisoners with a diagnosed mental illness. My comments here apply to all prisoners, not
     just those suffering from mental illness.

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            180.    Unfortunately, the IDOC started down the road of a step down program at

     Pontiac but by 2018 no high-ranking official could speak to its status in the IDOC.150

     When asked about it former Director Baldwin said in his deposition, “I have no idea what

     that is.”151 Other IDOC officials made similar statements.152 It is clear there is no

     adequate step down program in the IDOC. It is time to implement one, and there are

     several models in other jurisdictions to inform development of such a program in Illinois.

            181.    Additionally, in the step down program, privileges should increase as

     prisoners graduate from one tier to another, as suggested by Vera, but small incentives,

     such as additional phone calls, increase in commissary purchases, phone calls home, and

     extra showers have been shown to be powerful motivators to improve behavior both in

     the WDOC and in prisons in New York State during each tier or phase of the program.

     Misconduct while in the program, except for the most serious offenses, should be handled

     by the step down treatment team in the form of information reports so that the

     misbehavior is rationally related to an individual’s treatment plan.

            182.    The conditions of confinement in IDOC’s restrictive housing units need to

     be dramatically improved to include:

                       •   Meeting ACA minimum standards for recreation

                       •   Recreation yards must be supervised by officers on
                           the ground and not in a tower

                       •   Ending double celling in restricted housing

                       •   Improved cleanliness in restricted housing units

     150
         I understand that this was a program specifically meant for people stepping down from
     supermax. Once the supermax closed, the program ended.
     151
         Baldwin, John 2018.10.17 deposition, page 217, line 5.
     152
         See Taylor, Gladyse C., 2018.10.18 deposition, page 68, line 12 – page 69, line 70,
     line 6; Butler, Kimberly, 2018.10.15 deposition, page 70, line 21 – page 71, line 16.

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